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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff;             )
                                             )
v.                                           )      Civil No. 7:18-cv-00511
                                             )
PERRY E. ROUDABUSH AND                       )
SUSAN H. ROUDABUSH                           )
                                             )
                      Defendants.            )

                              STIPULATION OF DISMISSAL

        It is hereby stipulated and agreed by and between the parties and/or their respective

counsel that the above-captioned action is voluntarily dismissed with prejudice as to defendants

Perry E. and Susan H. Roudabush, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).



                                             THOMAS T. CULLEN
                                             United States Attorney


                                             /s/ Justin Lugar
                                             Justin Lugar
                                             Assistant United States Attorney
                                             Virginia State Bar No. 77007
                                             P. O. Box 1709
                                             Roanoke, VA 24008-1709
                                             Telephone: (540) 857-2250
                                             Facsimile: (540) 857-2283
                                             E-mail: justin.lugar@usdoj.gov

                                             Perry E. & Susan H. Roudabush

                                             /s/ Michael O. Wells
                                             Michael O. Wells, Esq.
                                             Smith, Barden & Wells, P.C.
                                             1330 Alverser Plaza
                                             Midlothian, VA 23113
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2019, I caused a true copy of the foregoing Stipulation

of Dismissal to be electronically filed with the Clerk of the Court using the CM/ECF system,

which will provide electronic notice to the following:

       Michael O. Wells, Esq.
       Smith, Barden & Wells, P.C.
       1330 Alverser Plaza
       Midlothian, VA 23113


                                                     /s/ Justin Lugar
                                                     Justin Lugar
                                                     Assistant United States Attorney
